     Case: 1:21-cv-00962 Document #: 31 Filed: 09/23/21 Page 1 of 1 PageID #:656

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Helen Allen
                                Plaintiff,
v.                                                   Case No.: 1:21−cv−00962
                                                     Honorable Mary M. Rowland
Ford Motor Company
                                Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, September 23, 2021:


       MINUTE entry before the Honorable Mary M. Rowland: Plaintiff's motion for
counsel to access sealed documents [30] is granted. Counsel will have access to the
document for attorney's eyes only. Mailed notice. (dm, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
